Case 1:19-bk-10189          Doc 42        Filed 06/18/19 Entered 06/18/19 14:15:06              Desc Main
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       UNITED STATES BANKRUPTCY COURT                                     Form F: PROPOSED CONSENT ORDER
       FOR THE DISTRICT OF RHODE ISLAND                                         TWO PAGE DOCUMENT
       ‐ - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x
       In re: Steven W. DePasquale                                                  BK No. 19-10189

                                               Debtor(s)              :             Chapter 7
       - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x

                    CONSENT ORDER re: STATUS HEARING ON LOSS MITIGATION

                 The Court, having scheduled a status hearing on loss mitigation for June 19, 2019, at
       which counsel for the Debtor(s) and Caliber Home Loans, Inc. (the “Creditor”) have been
       ordered to appear; and by agreement of the parties,
                 IT IS HEREBY AGREED:
            (1) The Debtor(s) shall fully respond to the Information Request and provide all requested
                                                24
                documents to Creditor by June 25, 2019.
            (2) The Creditor shall conduct a final review of the information submitted by the Debtor(s),
                 and if the Creditor requires additional information, the Creditor shall, by email or
                 written correspondence, provide the Debtor[s]’ counsel with a list of any additional
                 information it requires by July 9, 2019 after receiving the Response (the “Additional
                 Information Request”).



       Agreed to this 18th day of June 2019.




       Rev. 12/18/2013
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       Debtor(s)                                               Creditor
       By counsel:                                             By counsel:

        /s/ Peter J. Furness                                   /s/ Joseph M. Dolben
        Peter J. Furness, Esq. (#)                             Joseph M. Dolben (#7916)
       Richardson, Harrington & Furness                        Marinosci Law Group, P.C.
       182 Waterman Street                                      275 West Natick Road, Suite 500
       Providence, RI 02906                                    Warwick, RI 02886
       (401) 273-9600                                          Phone: (401) 234-9200




       Consent Order Approved on this      day of June 2019.


       _____________________________
       Honorable Diane Finkle
       U.S. Bankruptcy Judge

       Date of Continued Status Hearing: June 25, 2019




       Rev. 12/18/2013
